Case 5:13-cv-10674-JCO-MJH ECF No. 1, PagelD.1 Filed 02/18/13 Page 1 of 22

 

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

 

UNITED STATES OF AMERICA § Claim Nos:
2012A39714/A39729/4 3973 1/A39732
§
VS, §
§
Eve M. Hill
COMPLAINT

 

 

 

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

The United States of America, plaintiff, alleges that:

Jurisdiction

1. This Court has jurisdiction over the subject matter of this action pursuant to Article I,

Section 2, U.S. Constitution and 28 U.S.C. § 1345.
Venue

2. The defendant is a resident of Wayne County, Michigan within the jurisdiction of this
Court and may be served with service of process at 4 E, Alexandrine, Apt. 1119, Detroit,
Michigan 48201.

The Debt

First Cause of Action - Claim Number: 2012439714

3, The debt owed the USA is as follows:

A. Current Principal fafter application of all $140.00
prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and $134.47
Accrued Interest

C, Administrative Fee, Costs, Penalties $0.00

 

 

 

 

 
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D. Credits previously applied (Debtor payments,
credits, and offsets)

E, Attorneys fees
Total Owed — Claim Number 2012439714

Second Cause of Action - Claim Number: 2012A39729

4. The debt owed the USA is as follows:

A. Current Principal (after application of all
prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and
Accrued Interest

C, Administrative Fee, Costs, Penalties

D. Credits previously applied (Debtor payments,
credits, and offsets)

E. Attorneys fees
Total Owed — Claim Number 2012439729

Third Cause of Action - Claim Number: 2012439731

 

5, The debt owed the USA is as follows:

A. Current Principal (after application of all
prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and
Accrued Interest

C. Administrative Fee, Costs, Penalties

D. Credits previously applied (Debtor payments,
credits, and offsets)

E. Attorneys fees
Total Owed — Claim Number 2012A39731

Page 2 of 22

$0.00

$0.00
$274.47

$982.27

$2,178.61

$0.00
$0.00

$0.00
$3,160.88

$2,625.00

$5,872.34

$0.00
$0.00

$0.00
$8,497.34
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Fourth Cause of Action - Claim Number: 2012439732

6. The debt owed the USA is as follows:

A, Current Principal (after application of all
prior payments, credits, and offsets)

B, Current Capitalized Interest Balance and
Accrued Interest

C. Administrative Fee, Costs, Penalties

D. Credits previously applied (Debtor payments,
credits, and offsets)

E, Attorneys fees
Total Owed — Claim Number 2012A39732

TOTAL OWED (Claim Numbers 2012A39714/A39729/A39731/A39732)

Page 3 of 22

$4,882.71

$6,118.62

$0.00
$0,00

$0.00
$11,001.33

$22,934.02

The Certificates of Indebtedness, attached as Exhibits "A", "B", “C” and “D”, show the

total owed excluding attorney's fees and CIF charges. The principal balance and the interest

balance shown on the respective Certificates of Indebtedness, are correct as of the date of the

Certificates of Indebtedness after application of ali prior payments, credits, and offsets.

Prejudgment interest accrues at the rate of 3,000% per annum or $0.02 per day on Claim Number

2012439714, 7.000% per annum or $0,19 per day on Claim Number 2012A39729, 10.000% per

annum or $0.72 per day on Claim Number 2012A39731 and 3.420% per annum or $0.46 per day
p

on Claim Number 2012A39732.

Failure to Pay

7. Demand has been made upon the defendant for payment of the indebtedness, and the

defendant has neglected and refused to pay the same.

WHEREFORE, USA prays for judgment:

A, For the sums set forth in paragraphs 3, 4, 5, and 6 above, plus prejudgment

 

 

 

 
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interest through the date of judgment, all administrative costs allowed by law, and post-judgment

interest pursuant to 28 U.S.C. § 1961 that interest on the judgment be at the legal rate until paid

in full;

B. For attorneys' fees to the extent allowed by law; and,

C. For such other relief which the Court deems proper.

Respectfully submitted,

 

By: s/Charles J. Holzman (P35625)
Holzman Corkery, PLLC
Attorneys for Plaintiff
Tamara Pearson (P56265)
28366 Franklin Road
Southfield, Michigan 48034
(248) 352-4340

usa@holzmanlaw.com
     

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U. S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS #1 OF 4

Eve M. Hill
aka: Eve Hill
45, Alexander Ave., Apt. 1119
Detroit, MI. 48201
Accourit No. 3007

I certify that U.S. Department of Education records show that the borrower named above is indebted to the |
United States in the amount stated below plus additional interest from 4/02/12.

On or about 9/26/79, the borrower executed promissory note(s) to secure loan(s) of $70.00 and $70.00 from
Detroit Business Instituté at 3% interest per annum. The institution made the loan under the Federally-fimded
National Defense/Direct Student Loan, now Perkins Student Loan, programs authorized under Title IV-E of
the Higher Education Act of 1965, as amended, 20 U.S.C, 1087aa et seq. (34 C.F_R. Part 674). The institution
demanded payment according to the terms of the note, and the borrower defaulted on the obligation on
11/02/84, Due to this default, the institution assigned all rights and title ta thé loan to the Department of
Education,

Afier the institution credited all cancellations due and payments received, the borrower owed the school
$140.00 principal and $9.10. This principal and interest, together with any unpaid charges, totaled $149.10.
The loan was assigned to the Department on 3/15/83.

Since assignment of the loan, the Department has credited a total of $0.00 in payments from all sources.
including Treasury Department offsets, if any, to the balance. After application of these payments, the
borrower now owes the United States the following:

‘Principal: . $140.00
Interest: Loe $130.82
Total debt as of 3/05/12: $270.82

Interest accrues on the principal shown here at the rate of $0.02 per day..

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and correct.

Executedon: 4/2 //2 ; eres vr
Laura Rev.

Loan Analyst
Litigation Support Unit

 

 

 

 

 
oN, PROMISSORY NOTE ced
~~ NATIQNAL DIRECT STUDENT LOAN FROGRAM

 

(CITY, STATE, AND ZIP CODE}
Detroit, Michigan 48201

STUDENT SOCIAL
SECURITY NUMBER — — --

 

 

 

I Eve Hill » hereinafter called the maker promis to pay
To. Detroit Business Institute » berainaftor called the lending institution,
. (NAME OF INSTITUTIONI

. LOCATED at___15 State Street, Detroit, Michigan 48226 _ » the sum of such amounts as may from time to
time be advanced to me and endorsed in the Schedule of Advances belci together with all attorney's fees and Other costs and charger faceasary for the collection of
any amount not paid whan dus,

 
 

SIGNATURE OF

   

 

      

E¥EVE Het o----
tow NO: RANZAD7==g OT-C5-83

SSN ie

wnt ag, Sadan Be a ea aye

The maker further understands and egress, and it ls understood between the partias that:

h All surna advanced Durtuant to this note ere drawn from a fund crasted Under Part £ of Title IV of the Higher Education Act of 1965, ac amended, harslnatter
called the Act, Such terme of the note as ere ubject to interpratation shall be conatrund In the light of such Act and federal Faguletions pertaining to sch Act, coples
of which shell ba kept by tha lending institution,

i, Repayment of principal, together with interart thereon, shell be made over s pariod commencing (except when Paragraph UW) (3) i epplicabla) 9 months after
the dete on which the maker comest to cowry, at an institution of higher education, of at a comparable Institution outside tha States approved for thla purpose by the
Us, Ca i of herelnefter called tha Ce les) 1, at Inest one-half the normal full-time academic workload and ending 10 yeart snd & months
after tuch cate, Interest of Jaen cantum per annum shall accrue from the beginning af such repayment period. Repayment of principal, together with interest thereon,
shall be racks in equal monthly Instalimants (aa determined by tha lending Institution) in 4 with tha schedide which is d to and made part of this note.

41, Thke note tn subject ales to the following conditionn

(1) The maker may at hit option and without penalty prepay all or any pert of the principal, plus the accruod interer thereon, at any tine,

(2) In the event of # fallure to mest a schedulad rapaymant of any of the Installments due on thit nota, the entire unpeid Indabtednam including interest dus
and accrued thereon, shal, at tha option of the lending Institution, become immadiataly dus and payable,

(3) Interest chell not accrus, and Instaliments need not be pid during any period (A) during which the maker ix. carrying, at an inatitution of highsr education

or at a comparable institution outsides the Stetes approved for this purposs by tha Commisstoner, at teust one-half the wormel full-time academic workioed-or (8) not in
excet of 3 yearn during which the maker (1) is on full-time active duty ap a rember of tha Armed Force (Army, Navy, Aly Fores, Marine Gorgd, or Const Guard) of
the United States, (11) ia in service ata Volunteer under the Pesca Corps Act, or (111) ls in service ss a volunteer Under Tithe VIII of the Economic Opportunity Act of
1865 (Viete}. Any such period in {a) or (b} rhall not be Itehided in determining the 10-yaer perlod during which repayment murt be completed & aa specified In
peregeaph Ih .

(a) IF the maker uncertaker service after June 30, 1972, (e) avs fulltime teacher in a public or orher nonprofit private elementary or secondary school which la
In a school district of # local educational agency which is elighbia In each yaar for asmletance pursued to Title | of the Elamantery and Secondery Educstlon Act of
1965 and which for the purposes of this clause and for that yeer hat bean desh id by the Commish in dertce with the provisions of Section asatal(ah at
tha Act ata school with a high erroliment of students from lowdneome fariiliss, or {bl as full-time teacher of handi J children {including méntally
heed of hearing, deaf, speach ingaited, visually handicapped, serloualy emotionally disturbed, or other healthimpalred chitdren who by rawon theraof require wpeciat
wducation} Ina public or other nonprofit slementary or secondary school sytem, for each complete yaar of tuch servies the amount of this note shal) be reduced at the
fate of 15 per centuin of the tate! principe! amount of the loan plus Interest thereon for the first and second yaar of such asrvice, 20 Per Centum of the total peincipal
amount plus interest themmon for the third and fourth yser of such mrvice, and 30 par pentum of the total principal ammount plus intecast theraon for the fifth yeer of
such aarvica,

(6) If, efter June 30, 1872, the maker undertaken service 3 ase full-time staf member in a préechool program carried on under Section 2272{A}|1) of the
Economie Opportunity Act of 1964 iHesd Start) which in operated for a parlod which Is comperabla to s full school yeer In the locality, and provided thet the eelory
of such staff mecrbar le not more than the selery of a comperable employes of the focal educational agency, the Bilncipal amount of thie note shail be reduced at the
nite of 15 per centum of the total principal amount of the Loan plus Intarast thereon for each complety year of such service.

(a) if, after June 30, 1972, the taker served oe member of the Atmed Forcer of the United States, up tc BO per centum of the principe! emount ‘ot thls Joan
shall be reduced at the rate of 1244 per cantum of the totpl principal amount of the lown, plus Interert thereon, for each complete yeer of service In an erdn of hostilities
that qualifies for special pay under Section 310 of Title 37, United States Code,

{7} The maker Is retponslbls for informing the tending Institution of any chenge or changes in his eddrew,

(8) Notwithstanding the repayment schedule otherwise calculable to Pert 13, tha maker shall repay the totel principal amount of this loan at the rate of not lesa
than $36 per month, In tha event the maker receives or har fecsived other National Diract Suudant Loens frqm other funds suthorized by the Act «tone or more other
lending institutions, ha/she shall repay thin note at a monthly rete equal ta not al then the amount by which $30 exceeds tha total monthly rate of principal
fepayrmeat'on all uch other doune

(0) If the maker falls to maka timely payment of aij or any part of a scheduled installment, oF if the meker le aligible for deferment or cancellation of paymant
{pursuant to Part 149), 14), (63, or (Gi), but falle to subrlt timaly and eatiefactory evidence thereat, the maker promiser to pay the charge ameased egalnit him by the
landing Institution. No charge may excesd $1 for the first month or part of a month by which such Inetellmect or avidance ie lste, and $2 for eech month or part of =
month therestter, Jf the fending institutlon elects to add the acemed charge to the outstanding principal of the loan, bt shail a0 inform thy maker prior to tha due dete
of the next instaliment.

W, ‘This note shall not ba sstigned by the danding Inetitutlon axcept, upon transfer of the maker to snother institution participating in this program {or, if not so
pertlcipatitg, is etigible-we ce so apd.in proved by tha Commissionar for such purpos), to such institution; provided that aasignment may be made to 4a) institutions
other thant thoss to which the maker het Pd the United States where the fending institution ceases 10 function as an educational Institutlon and (bt to the
United States if this note has been In sebeelh fon tan. Site wee Providions Of this nate thet reite to tha landing institution shall where sppropviate ratate to an

walgnee, PES Esky nw Boo aia!

Y. ‘Tha maker hereby cartifies that fa hae finted below aft ol Wationat. Best Btudent, Loan ier Nellore’ Deterine Stucent Loened he hee obtained at other
institutions, ‘e Ma ay

 

 

 
 

SCHEDULE OF

 
    
 

SIGNATURE
PERMANENT ADDRESS.

{STREET OA BOX NUMBER, CITY, STATE, AND ZIP CODE}
CAVEAT—Thies note chal be d without ity and with fi except that If the maker lta minor and thi¢ note would not, under the law of the

 

state’ in which tha Jending Inuthtution Is loested, create # binding obligetion, either securl ty or endorsamant may be required, The lending Institutton shail supply a copy
of this note to tha maker:

SIGNATURE OF ENOOASER, DATE 18.

PERMANENT ADDRESS, ,
(STREET OF BOX NUMBER, CITY, STATE, AND 2!P CODE}

1a

 

 

 

 

 

 

 

 

 

 
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Case 5: 13- -CV- 10674- JCO- MH ECF No.

 

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Case 5:13-cv-10674-JCO-MJH ECF No. 1, PagelD.9 Filed 02/18/13 Page 9 of 22

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U. 5, DEPARTMENT OF EDUCATION
- SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS #2 OF 4

Eve M. Hill

aka: Eve Hill

4 E. Alexander Ave., Apt. 1119
Detroit, MI. 48201

Ascount No. XXX

I certify that U.S, Department of Education records show that the borrower named above is indebted to the
United States in the amount stated below plus additional interest from 4/02/12.

On or about.5/01/79, the borrower executed promissory note(s) to secure ioan(s) of $1,000.00 from Michigan
Higher Education Student Loan, Lansing, MI, This loan was disbursed for $1,000.00 on 5/17/79 at 7% interest
per annum. The Joan obligation was guaranteed by Michigan Higher Education Assistance Authority, and then
reinsured by the Department of Education under loan guaranty programs authorized under Title TV-B of the
Higher Education Act of 1965, as amended, 20 U.S.C. 1071 et seq. (34 C.F.R, Part682). Thehoider
demanded payment according to the terms of the note, and credited $0.00 to the outstanding principal owed on
the loan. The borrower defaulted on the obligation on 1/01/81, and the holder filed a claim on the loan
guarantee.

Due to this default, the guaranty agency paid a claim in the amount of $1,023.33 to the holder. The guarantor
was then reimbursed for that claim payment by the Department under its reinsurance agreement. Pursuant to
34 C.FLR. § 682.410(b)(4), once the guarantor pays on a default claim, the entire amount paid becomes due to
the guarantor as principal, The guarantor attempted to collect this debt from the borrower. The guarantor was
unable to. collect the full amount due, and on 12/04/92, assigned its right and title to the loan to the
Department. ,

Since assignment of the loan, the Department has credited a total of $0.00 in payments from ail sources,
including Treasury Department offsets, if any, to the balance, After application of these payments, the
borrower now owes the United States the following:

Principal: $ 982.27

Interest: $2,118.84
Total debt as of 4/02/12: $3,301.11

Interest accrues on the principal shown here at the rate of $0.19 per day.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and correct,

Executedon: 4 / 2 / 12 Ae
Laura Bey;

Loan Analyst
Litigation Support Unit

 

 
 

Case 5:13-¢cv-10674-JCO-MJH ECF No. 1, PagelD.11 Filed 02/18/13 Page 11 of 22
FA 159% £ wad Looe . ? 3 iv SiMichigen pe portman of Educotion

278 2 _*_ STUDENT FINANCIAL ASSISTANCE SERVICES

:. ; Box 36051, Lansing, Michigan 48909 MAY 07 1979

STATE DIRECT LOAN PROGRAM fed
INTERIM NOTE _APRIL L6_ 15

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on WUE Ole is 80 oro such ceegieratad or exteaced due dete as provided for herein, for volue rece:ved the undersi

pay Hoth b, Higher Ec. Student Loge Authority hareinafte: caved the Authority on order the principal sum of $ _1900,00 together with Interest the
trom tha sete of tag pote sf ine rote of 7 “per amnen The undersigned {hereinafter called the Maker) shall pay such principal and ir
af ihe aurie ity at ering Miichigen or af aych other glace as the holder hereof

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shall designate te the Maker in writing in lawful moneyof the United $

 

 

 

of Ame , :
AMOUNT FINANCED s  L000,00 ANNUAL PERCENTAGE RATE 7%
Disbireewace at che craceard: of ing loan will be mode es follows:
Destin tarcay Disturcemert . Disbursement Total
Are ssat ite Amant Date Ariount Date Disbursemen

 

$990,00 05-01-79 $ 00 “os $1000,0

The Antti vp

 

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acta fee of 1% of the principal amount ef the foan. in the amount of gw 0,00 for the guaranteeing of the loan. from the first
sind guy it lo the State Guarantee Agency.on behatr af the Moker

 

bursemear:

Inierast nave ant py one United States Commissioner of Education shall be made if the Maker meets the federal interest be
irierestos ters rote will mol he sel by the U8. Comm

7 nefit requirements To the ex
faskemer of Education, the Maker agrees to pay interest to the Authority:

C1 tes rho ty 4 SerrAsaually, Li At time Payout Mote is signed.
Puntipo ican af thie toed rey be paid at the aptler al the Mckér b
for he fos cage dig eo sartier than the majurthy date of this note.
MAKER: ‘re

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¥ executing and delivering an approved installment Payou: Note io the Authority cat

  

 

‘cker promises to. lisse the procuads of the loan evidenced by this note solely fo pay educational expenses attendant to attendance at the alig

Tortawer ss cepted for enrolimern* or ts glreedy' enrolled: on the date hereof, and, (II) send written notice to the Authority (or, if the borro
Hor aocce cf the name and address ata subsequent holder, then to such subsequent holder) of any changes occurring in the enrellr

wag oddeess of the borrower or of the occurrence of any event which would-allow the holder te declare this note in default.

ACCELERATION: The Moker furthar agrees: (1! if the ecurse of study is ‘reduced ta Jess than half-time status,

under beer “he Michigas Guargeteed Loar Pragrom, ‘hat ie maturity Gate of this
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or fll} the Maker transfers to a school nat elig
ote is hereby accelerated, The new maturity date shall be not less t

 

   

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EXTENSIGQM: The
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eve. che qreduaven date choeges during the peried cf this Interim Note, then the maturity date of this note shall be changed accerdin.
Feag shat -| ihe Maker continues in at lecst Salt-time stoius at an eligible school prior to the expiration of the grace period, an extentior
ry dare welll be mode so thet the new moturity datu shall not be earlier than nine months nor fater thon twelve months after the new graduat
TAoker evtors nilitery servica che Puace Corps, ot VISTA, conversion to repayment status may be deferred, ot the option of the Authority ¢
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H this nate fate due on n Setirday, Senday. o° public hotiday, if shell be gaycble an the next succeeding business day and such additional ¥me shall be inclue
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‘ate than ane, shall be joint y and suveully fable heraunder and thea term ‘Maker’ wherever used herein shall mean the Moker or any c
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sure @ waiver of ary af such powers, options, or rights,

payment of the note even though the Maker may be unt
ing any of its options, powers, 3r rights or partial or tne

 

 

Ihe Mewar cod Ca Mtaher fany wove damned, rresen-menrt for payment and notice of dishonor.

The Wiker Holder cred Ge spustys agree to od 20 ditions ang obi
teelwes qaat ned imi edo repayment and e-vects of datauls
The Aelia it

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pal plus accrued interest ot ony time. Interest shall cease fo accrue on t
mow ed rroacyna Tha taker acknowledges receipt of cf: exact copy ot this

note PRIOR to consummation af the transaction

 

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Maker (Signature} f
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Address of Maker

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YYVONNEALCLAIM NO 1993050030047 12-04-92
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Case 5:13-cv-10674-JCO-MJH

 
 

‘he undersigned does hereby sell, assign, trans.
“or, and set over unto the Michigan Highsr
‘sducation Assistance Authority its interest |
this note. WACHOVIA SERVICES, INC, cs

zuthorized agent of the State Direct Student
an Program,

sy:_Lnrad 2 kerilsu)

Sarah H. Stephens
Assistant Vice-President

Date: G 2- [st

1

 

 

 

 

 

 

 
Case 5:13-cv-10674-JCO-MJH ECF No. 1, PagelD.14 Filed 02/18/13 Page 14 of 22

1 CERTIFY UNDER PEn
i CB} oR PENALTY OF
ey ORY THAT THIS ISATY oE

   
 

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Case 5:13-cv-10674-JCO-MJH ECF No. 1, PagelD.15 Filed 02/18/13 Page 15 of 22

U. 8, DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS #3 OF 4

Eve M. Hill.

aka: Eve Hill

4B. Alexander Ave., Apt, 1119
Detroit, MI. 48201

Account No, XXX

I certify that U.S. Department of Education records show that the borrower named above is indebted to the
United States in the amount stated below plus additional interest from 4/02/12.

On or about 9/02/82, the borrower executed promissory note(s) to secure loan(s) of $2,625.00 from Aetna
Bank, Chicago, IL. This loan was disbursed for $2,625.00-on 11/16/88 at 10% interest per annum. The loan
ebligation was. guaranteed by Great Lakes Higher Education Corporation, and then reinsured by the
Department of Education under loan guaranty programs authorized under Title IV-B of the Higher Education
Act of 1965, as amended, 20 U.S.C. 1071 et seq. G4 C.F.R. Part 682). The holder demanded payment
according to the terms ofthe note, and credited $0.00 to the outstanding principal owed on the loan, The
borrower defaulted on the obligation on 6/15/93, and the holder filed a claim on the loan guarantee.

Due to this default, the guaranty agency paid a claim in the amount of $3,358.96 to the holder. The guarantor
was then reimbursed for that claim payment by the Department under its reinsurance agreement. Pursuant to
34 CLF.R., § 682.410(b)(4), once the guarantor pays on a default claim, the entire amount paid becomes due to
the guarantor as principal. The guarantor attempted to collect this debt from the borrower. The guarantor was

_ unable to collect the full amount due, and on 12/25/96, assigned its right and title to the loan to the.
Department.

Since assignment of the loan, the Department has credited a total of $0.00 in payments from all sources,
including Treasury Department offsets, if any, to the balance. After application of these payments, the
borrower now owes the United States the following:

Principal: $2,625.00
Interest: $5,644.18
Total debt as of 4/02/12: $8,269.18

Interest accrues on the principal shown here at the rate of $0.72 per day.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and correct.

Executed on 4/2 / /Z seated
. aura\Bev
Loan Analyst

Litigation Support Unit
   
   

siledOGL ICO. PaasiD.16 Filed 02/18/13 Page 16 of 22
eee AT ASS ETNA BANK

JUN { dy 4 SQ: anteep STUDENT LOAN APPLICATION AND PROMISSORY NOTE SOOEY, BZ

“ = SECTION 1-TO BE COMPLETED BY THE BORROWER =IMPORTANT-READ THE INST RUCTIONS CAREFULLY 1
1, Socials Security Number Lz LastN eee FirstName wens Middletnitiat ” , Birthdate :
| +L

jleEve
"a. Lee FTE na ) d , VV 2. ; a e + mM M3} a h Cj 8 YO } 5. Aras ik fe

   

 

 

 

 

 

 

 

 

 

 

 

6. United States Td a.8).S. CitizenNational ™ 7. You are @ permanent resident of what state? [| g State of Driver's Lcense__/ 1/() Ww C
Citizenship Status Mo, Year : : .

(Check One} (J », Eligible non-citizen (Alien # ~ } ‘ | | q. Driver's Lic, #; Since:

{See instructions} Cle Neitharofthe above PT | State: TV __ since: q A StateofVeh.Reg.: .._. Since:

9. LoanPeriod - | 40. Lban Amount Requested 0 sy A p, 12. List postsecondary fect dates:

 

 

 

 

reom KIA ada ened el fp 2de 8-5 lo Migh4l a BUY
73. Have you ever defaulted ona GSL, PLUS/SLS or Consolidaionlgan? 7 — Z “744. Rave you received a GSL, PLUS/SLS or Consolidation Loan for a pariod of enroliment

befora Jhily 1, 19887

Dyes [No If*Yes", see instruction oe ae Cl ves Etta

15. List below all GSL, PLUSISLS and Consolidation Loans. "Bo Not Include Perkins (NDSL} or HEAL Loans. Confinué ona separate ‘sheot if necessary. If none write “NONE”, if out-of-state
loan, Include proof of interest rate and unpaid bafance.

 

 

 

Enan Perlod interest

 

 

 

 

 

 

 

 

Name of Lender City and State of Lender Beginning Bate Rata Unpaid Balance
. "eos Me. Year .
_. o, ] ‘ea %, $
ue . ‘ “se Mo, Year
__ .|* % 1$
16. Wisconsin Residants Only, If married, spouse's name and address: * .
unmartied or
Moria C] maried (FH tegaily separated :
1a. Parentor Guardian {ifdeceased, other relative) 7b. Otherfelative [not lvingat aorl7eora} 7s. Other Relative or Friend {{not living at 17a or 7b or 4}

 

Relationship, t Relationship:

“E, | Relationship: , i c :
$ 10% | Yerndrce ; 182.03 Cyrrengraur 644 Chonlette

City/State/Zip: 7 _ | Since: Since: Since:

ruck sk Mich IG21 Riot Mich veal

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Area Codo/ « -
Telephone No.: _
t i o

Place and City of ft ° hf ohptk
Employment ““{\

Promissory Note for a Guaranteed Studant Loan NOTICE TO THE MAKER: DO NOT SIGH THIS BEFORE YOU READ THE WRITING ON THE SEVERSE SIDE,
1. Promise To Pay |, called Makar identified in Section I, Item 2. and “Endorser,” If any, Identified in Section | EVEN IF OTHERWISE ADVISED. YOU ARE ENTITLED TO AN EXACT COPY OF ANY AGREEMENT YOU SIGN.
|, heen 184, promise to pay to the lender Identified in Section J, Ram 36, when thir note becomes dug axset | YOU HAVE THE RIGHT AT ANY TIME TO PAY IN! ADVANCE THE UNPAID BALANCE DUE UNDER THIS

forth In paragraph 6 {on revarse side}, the sum of

 

. AGREEMENT. MAKER AND ENOORSER ACKNOWLEDGE RECEIPT OF AN EXACT COPY OF THIS NOTE AND
tar be THE STATEMENT OF BORROWER'S RIGHTS AND RESPONSIBILITIES

“3 DOLLARS _ 2 a ] p y q . 9 g
. {Seal} = a
Date

, 18b. Maker's Signature
($2. 24 | 00) or such lester amount as ix advanced to ma and identified to me in tie GSU Biscosure
Sta plus | d at the applicable rata disclosed of tha G5L Df Joagura Ste it iff am {Seal}
not satiaied with the terms of the [oan on the GSL Disclosura Statémdnt, 7 my an noel this agrasinont, t | 486. Endorier’s Signature - Date
agrea to contact my lender Immediately and 1 wil not cash any toan check that has bedn roleased to mo, ¥ .
agros to check the GSL Disclasure Statament as scon ae 1 gat it and to tet my Tander now i anything looks » .
wrong or if | have any questions, My signature cartifics that | hava read and agree to the condlions af
authorizatlong stated In the *Barrowar Cartilfication” printed on the reverse pide, Endorsar’s Soc, See, No, Endorser’s Address

‘NATIONAL TECHNICAL INSTITI }TEsecnon 2-TO BE GORAPLETED BY THE SCHOOL

    
  

LOH ROU aay hd a !
1a, Requested Loan ‘Amount - Must bo the same ie hy 10,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
 
   

f4AWeEAPAYETTE #200 — 20. Address Gy State, ZipCode = ~~=~S~S*S*«*” A, Area Cade Telephone Noo
ICHIGAN 48226 _ SIZ FSG/ -3.
[22 SchoolCode | 23, BorrowerEnrolied: | 24. THD 25, LoanPerlod ' 26. Grade | 27. Anticipated Grad. 38. Est. Cost ofEduc
OAS a.5~ From Mo. by 9 Year To Mo. Day Year / Mc. ‘Year
fut |TD [" 396 O2- 67 84 (2 89 $7%SO
2%. Est. Fin. Aid 30. &F.Cantribution 431. ApprovedLosnAmount | 32. ama ¥ 32. 2nd Disbursernent Date “
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"| 34. SignatureafSchoet __
ee 7 sEerION 4-10 ‘BE COMPLETED BY vi LENDER

 

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-]35. NameofLender oe ee ee SRT A ah Tee ant 40, ist Dieburdement
‘ a!
Aetna Bank $ DLQS oo

36, Street Address — “ —" Ciy, olate, Zip bade oe a, and Disbursement a ~~ i

it s
Lincoln, Fullerton & Halstad | Chicago, 1L 60614 oun $
37, LenderCode “7 38. Entity Number ~ 39, Ares Code/Telephona No. "| €2. Total Amount J
(312) 935-6000 Approve Ene S pp AS -——

 

 

 

 

 

SY LENDER
“Powlie Lato Fa? af COPYA
PrintNameand Tithe _ Le _

hae --=— = a mT Aan ene

 
f 22
Case 5:13-cv-10674-JCO-MJH ECF No.1, PagelD.17 Filed 02/18/13 Page 170

I CERTIFY UNDER PENALTY OF -
PERJURY THAT THIS IS A TRUE
ND EXACT COPY OF THI

IGINAL PROMISSORY NQTE )
et Lh L2As -S »

  
 
 
 

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Case 5:13-cyv-10674-.JCO-M.JH ECF No. 1, PagelD.18 Filed 02/18/13 Page 18 of 22

rere e - 7 7 - . Rm
2 DEFINIFIONS. All words, phrases, and conditions not defined In this. Note shalt be construed according ta common and approved usage unless a, is ascribed festtepn
Tite JV, Part B Higher Education Act of 1965 (20 U.S.C. 1071 et sag), as amended, called the “Act” or Faderal egulations. The U.S, Secretary of Education sfiall be called the ~Socr ry
The Graat Lakes Higher Education Corporation shall be called “GLHEC”. . — oo TT . . * me,

3. APPLICABLE INTEREST RATE. (1) The Maker agraes to pay an amount &quivalant to simple interest {as Specified in {4)) on the unpaid Principle balance from the date of disbursement ur
the entire principal sum and accrued interast are paid in full. (2} However, tha Secretary will pay the interast that accrues on this loan prior to repayment status and during any deferment,
it is datartnined that tha Maker qualifies to have sich payments made on the Maker's behalf under the reguiations governing the Guaranteed Student Loan Program ("GSLP"}, In the ave
that the interast on this taan is Payable by the Secretary, nefther the fender not the holder of this Note may attempt to collect the intarast from the Maker. The Maker, hawever, may choo
to pay the interest. {3} Once the repayment status begins the Maker will he rasponsible for all Infarest that agprues on this loan, except that if the Interest accrulng on thls fosn prior to £
repayment period was payable by the Sectetary, the Secrotary will pay the interest that accrues during any period described under DEFERMENT {par. 13} in this Promissory Note, (4) T.
intarest rate will be determined according to the following: (a) if the Maker has an Gutstanding Guaranteed Studsnt Loants) ("GSL") on the deta the Makar signs this Note, the applicat
interest rate will be the same as the applicable interest rate on the Oulstanding GSL{s). 1b) H the Maker Is borrowing for a period of anrolimant which begins bofore July
7988, and the Maker has no outstanding GSL(c}, the applicable interest rate on this loan will be 6%, {c} IF the Maker is borrowing for 8 period of anreliment which begins on or Bfter July
1988, and the Maker has no outstanding GSL{s} but the Maker has an outstanding balance on any PLUS, Supplemental Loans for Students { "SLS"} made for enrollment periods beginnit
before that date or on any Condolidation loants} which repatd loans made for enrollment pariod(s) beginning before that date, the applicable interast rata on this joan Will be 8%, fd} Hal
Maker is. borrowing for a period of anrollmant which begins on or aiter duly 1, 1888, and tha Maker has no outstanding balance on any GSL, PLUS, or SLS made for entolliment period|
beginning before that date or on any Consolidation loanis) which repaid loans mata for enroliment period(s} beginning before that date, the applicable interest rate on this loan will ba 8
until the end of the fourth year of the Maker's fepayment status and will be 10% beginning with the fith yeer of the Maker's repayment status, {5) The applicabla interest rate is} until the ar
of the fourth year of the Makar's repayment status, a he ein with the. yegr of laker’ jonament status, will be identified on.tha GLHEG GSL Disclosure Statement. (6) Tt

e anf eanpl

Maker may also recelve rabatas of interast, if required Igher Educatio Act of }965, a 8 ieapits inte(ést rate 1s 10%. (7} The lendor or othar holder of thia no
imay add accnied unpald interest to the Unpald principal balance {capitalization} of thia loan in nee With ragutetic: fand pdlicies of GLHEC.

4. GUARANTEE INSURANCE FEE. The Maker agrees te pay a logn guarantee insurance fee to Lender aqual to 1% of the Loan Amount. Tha amount of this fea will be shown on the GS
Disclosure Statement and it will be deducted Praportionally fram each disbursament of this lean, This fea may be refundable if no amount of this losn hes bean disbursed to ihe Maker,

5. LOAN ORIGINATION FEE, The Maker agrees to pay to tha lender a loan origination foo equal to 5% of tha Loan Amaunt. This fea may be increased to 5.5% by Prasidantlal urdar Issue

determined by that institution plus the Grace Pariod, no payments are due from the Maker, and all interest accruing will be paid to the landar by the Secretary if the Maker qualifies for Intere:
subsidy, During ths Grace Peried, the lendar will provide the Maker and the Maker will sign, 3 Payment Schedule and Disclosures for which wilf establish the number snd amounts of th
payments necessary to repay the principal and intarest due on this note over tha period (“Repay Period") cor ing at the lusion of the Grace Period. The lender fray add an
écerved interest for which the Secretary is not liable and any interest not paid by the Maker when due to the unpaid principal balance of this jaen in accordance with GLHEC regulations. Fror
the date the Repayment Pariod bagins, the Maker and not the Secretary is fiabla for all interest accruing on this Note except during authorized deferment periode, Except where the minimur
payment provided in par. 7 is applicable, the Repayment Period tasts at least 5 years but no more than 10 years, lexcapt far authorized periods of deferment and forbaarance), 4 the lendé
and Maker agree to a Repayment Period of lass than 5 years, the lender will, at the Maker's request, extend it to 5 years unless doing so would zaduce tha Maker's payments below th
minimum required by par, 7, The Maker agress {A} to notify the lender Promptly in writing alter ceasing to carry at an allgible Inatitution at lesst one half the normal full-time academ!
workload, (B} to sign the Paymant Schodula and Disclosures form, provided by the 2 lander, not later than 120 days prior to the axpiration of the Grace Period, and (C} to pay the Note
accordance with the Paymont Schecule and Disclosures form. Receipt or signature of the Payment Schedule and Disclosures form by the Maker shalt not ba a condition Precedent to Nabilit
for payment of any sums owed by the Maker ond any Endorser,

7. MINIMUM PAYMENT. The total annual paymant by the Maker during any year of the repayment petiod on alt GSL and PLUS/SLS foans made under the Act shall not, unless others
+ agreed to by lender and Maker, be [ese than $6_or the balance of all such loans plus accrued Interest, whichever ls less, except that If a husband and wifs both have outstanding GSL an
PLUSVSLS loans, the total combined annua} payment on all such loans by husband and wife shall not be lass than $600 or the combined balance of all such Joans plus accrued Interest
whichavar iz lose. The required annual Payment may be more than indicated abova depending on the total amount barrowed,
& PREPAYMENT WITHOUT PENALTY. Tha Maker and any Endorser may prepay the whole or any part of this Note at any time without Peralty, and may be entitled to a rebata of any unearmey
interest that was paid. r - * - wee es
8, LATE PAYMENT PEMALTY. A late payment Penalty may be assessed on the unpald amaunt of any instalment not paid on or before the tOth day after its scheduled or deferred dus date
The Jate charge may not exceed &% of each installment or $6 for each Installmant whichever is less. This charge may be added to the Maker'r account and deductad from any future payment:

prior to all payment of any principat ar

10. COLLECTION CHARGES. The Maker and any Endorser are lable for afl chargas and collection costs, including statutorily authorized attorneys fess, that are permitted by Ragulations o
the Secretary and are Necessary for the collection of tha loan, oe ee - - : _

11, SECURITY INTEREST. This Note Is unsecured and the lender expressly waives, as security for this Note, any security interast held by the lander,

12. DISBURSEMENT SCHEDULE, Tha Maker and iender agrea that the amount pald tm the Maker shatl be disbursed by check payable to the order of and requiring the andarsament of the
Maker according to the schedule listed on the GSL Disclosure Statement. . ; = -

73. DEFERMENT. Payment of prinelpal will be deferred after the repayment period begins, Provided Maker compfies with the procedural Tequirements set forth in tha regulations governing
the GSL Program In any of these cl Including daf it i i i i q

GSLP funtess Makar is not a citizen or national of the United States and is studying ata schoot not located in the United Statas}; (b) Full-time Study at an Institution of higher education ora
Vocational school that is operated by an agency of the Federal Government {e.g., the service academies). (ce) A graduate fallowshlp program approved by the Sacratary:; or (d) A rehabilitation

    
  

    

  
   
 
 
  

training program for disabled individuals approved by the. Secrstary. {B} For periods not exceeding 3 years for pach of the following while Maker is — (aj On active duly in the Armed Forces
of the United States or serving as an officer In tha Commissioned Corps of the United Statas Public Health Services; (b) Serving as 4 Paaca Corps Volunteer; (c} Serving ax a full-time volunteer
under Title | of tha Domestic Volunteer Saivica Act of 1973 {ACTION programs, e.g., VISTAI; {d} Sarving as a full-time voly for an organization exempt from Faderal income taxation
under Section 501{c}{3) of the Intemal Revenue Code of 1954, while parforming service which the Secretary has deta afable to service In the Peace Coms'or ACTION programs:
or {e) Temporarily totslly disabled, as established by affidavit of a qualifiad physician, or unable to secu 1 Maker ts providing care required by a dependent who ty
temporarily totally disabled, as establishad by affidavit of a qualified physician. {G) For a period n seals rving in an internship that the Secretary has daterminad
is necessary for Maker to gain professional recognition required to begin professional cM i putat d not ding 2 yeara while Maker Is Consclantiously sesking but
Unabla te find full-time amploymont in the United States; end (E) Up to 6 m ue is p ra bis ly adopted child, and is not in attendance st an allgibia
school or gainfully employed, and was enrolled within the past & rea plbla-ingti ot new begets ing 4 loan for a pari snreliment beginning on ar otter July 1,
1987, payment may also be deferred for: (A) Enraflment at least ha! me is igormata OY ch psuihe a dof éefolinfnt; {8) Up to 3 years while sarving ag an
active duty member of tha National Oceanic and Atmospheric a arps: (C} VGH ats for Me tary or sopord oal teachers in a teacher shortage oraa
prescribed by the Secretary; (D) Up to 2 years for service In an eligible igbe! Prevericaul a degréa if fe awapied} in institution of highar education, =
hospital, or a health cara facility that offers post-graduate training: AMERY 1 ¥bar for, gent of eft-schoalL chikdy, ontuceefot re-ent Le, who earn lass than $7 above
minimum wage. wi

To be granted a defermant, Maker must Pravide the lander with wets uien ch BARR ty Moker Gan the-condition for which the deferment
was granted no longer existe. mo 0 : pt DY Nhe dee Spe eee ay pe pu
14, EVENTS OF DEFAULT, This Note shall, at the aption of the holder, baomaim racial fue ton tha aha tailing evant ottoman: tf Halal
Maker to pay in full any monthiy installment when due provided that tis faitpeediZists r aq UBHE liments; or (B} giving falaa pL inetcurate Info Ohah
on 6n application for a student Joan. Upon default all of the Maker's fights under thiaag nmlnated, Including but not limited 16 tha_defermanis ‘Provided for in par, 13,
Paymont arrengenients which may be allowed by the Great Lakes Higher Eduoaty orition after default, shail not relnstate or renaw any uch terrain ATM te tbeleh | oe
75. CONSEQUENCES OF DEFAULT. Upon an event of defauli (pur. 14}, Makor indorser are jointly and severally Ilable for ell charges and Hectiort ats Intlurd| gtatatdtatily inane h
attomays fees) permitted by federal statutes or by mules or regulations by the Secretary or GLHEC for the collection of any ariounts due under this Note. If this loan Is referred for
colfection to an agency subject to the Fair Debt Collection Practices Act (15 LLS.C. 55 1692 e¢ Seq. }, Maker and Endorser will Jointly and severally pay those collection costs which do not axcead
25% of tha unpaid principal and accrued Interest. In the event GLHEC obtains_a legal judgmant on the defauited loan, GLHEC reserves the right to collect Interest on the judgment at any rate
up re tha maximum rate of Interest that applicable law may allow with tespact to Interast on judgments. The rate of interest.an a judgment may be greater than the rate of interest specified
in this Note. roe sof se “* ° _ eee - .

16. CREDIT BUREAU NOTIFICATION, Information conearning the amount of this foan ahd its repayment will be raperted to one or more credit bureau organizations. # Maker dafautta an this
loan, thejender, the holderaz guaranty agency will also report the default ta oneor morecredit bureau organizations. This may algnificantly affect the Maker's ability to chtain othar credit,
+2, ADDITIONAL PROVISIONS. (A) The Maker and any Endorsar are jointly and severally liable for all amounta owing under this Note end waive Presentment for payment, demand, notice af
nonpayment, notice of protest and protest of this Note, and consent to the terms of any payment schedule as Wail as any and ail extensions, consolidations and renewals withaut notes. (B}
The Maker agrees to usa the proceads of the loan which this Note evidences solaly ta pay the expanses of attanding the educational insitution listed on the loan application and in which tha
Maker is enrolled or accepted for enrpliment at tha date of this Note, and for the loan period indicated on the application. (C) In the evant of the Maker's death or totaf and permanant disability,
the unpaid Indebtadnest hereunder shail be cancelled pursuant to féguTations promulgated under the Act. (D) The Makar shall notify the lender Promptly, in writing, of any changes from time
to time aecurring ih his ar har school enrallment Status (such as withdrawal fram school at less than half-time attendance, graduation or transfer to other schools) or home address from that
stated in the application for the joan. (E} The lender must provide information on the repayment status of this loan to credit bureau arganizations Upon the Maker's requast. Hf not otherwes
Prohibited by the Jaw or regulation, the lander and/or GLHEC will disclose information sbouf the status of this foan, to any credit bureau, (F} Under tha conditions set forth In Federal and
GLHEC regulations governing the GSL program this joan may be transferred to a holder other than the ‘original lender. Upon baing notified of such transfer, the Maker has the same right

fit ig op may be
avaliable to.tha Maker for GSL and other aducational foans. For further Information the Maker should contact GLHEC. ¥

BORROWER CERTIFICATION. | declare under Penalty of perjury under the laws of the United States of America that the following is trua and correct. {, the borrower, cartify that the information
contained in Section 7 of this apptlestion is true, complete and carfect to the bast of my knowledge and bellef and |e made in good faith, | also certify that | do not now owe a refund on a
PELL Grant, Basic Grant, Supplemantal Educational Opporturiity Grant, or State Student Incentive Grant that I receivad to attend any school. | further certify that | am not now in default on
any loans received under tie Perkins Loan {formariy National Direct Student Loan), the Federat Insured Student Loan Program, or the PLUS/SLS or ALAS Programs at any school, I hareby
authorize the aducational institution ta Pay to the lander any refund which may be due me up to the amount of this foan, | further guthorize any educational Insti
GLHEC, to release to the lending institution, subsequent holder, or thalr agents, any requested iriformation pertinent to this loan {a.g. employment, anroilment status, prlor joan history, current
address}, | also authorize the tender, subsequent holder, their agent, educational institution or GLHEC to make Inquiries from, prior or subsequent lendars or hold:
application and related documants, and to make Inquiries of my parents and_ other third patties to obtain Information regarding my location, amployment artd squrces of incarma. | cartify that
tha proteeds of any fonn made as a result of this application will be used for educational purposas for the academic period covered by this application at the educational Institution named
on thig form. | understand that | am rasponslbte for repaying any funds that | receive which cannot Teasonably be attributed ta meeting my education @xpenses related to attendance at that
Institution for the Joan poriod statad, | further cartify that [ have read and understand the statement of borrowar résponsibilities attached ta the appileation,

B

 

 

 

 

 
Case 5:13-cv-10674-JCO-MJH ECF No. 1, PagelD.19 Filed 02/18/13 Page 19 of 22

L CERTIFY UNDER PER

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Case 5:13-cv-10674-JCO-MJH ECF No. 1, PagelD.20 Filed 02/18/13 Page 20 of 22

 

U.S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS #4 OF 4

Eve M. Hill

aka: Eve Hill

48, Alexander Ave., Apt. 1119
Detroit, ME 48201

Account No, XXX?

1 certify that U.S. Department of Education records show that the borrower named above is indebted to the
United States in the amount stated below plus additional interest from 4/02/12, ~

On or about 9/02/88, the borrower executed promissory note(s) to secure loan(s) of $3,095.00 from Bank of
America, Pasadena, CA. This loan was disbursed for $3,095.00 on 11/25/88 at a variable rate of interest to be
established annually by the Department of Education. The loan obligation was guaranteed by Higher
Education Assistance Foundation, and then reinsured by the Department of Education under loan-guaranty
programs authorized urider Title ['V-B of the Higher Education Act of 1965, as amended, 20 U.S.C. 1071 et
seq. (34 C.F.R. Part 682). The holder demanded payment according to the terms of the note, and credited .
$0.00 to the outstanding principal owed on the loan. The borrower defaulted on the obligation on 10/28/92,
and the holder filed a claim on the Joan guarantee.

Due to this defanit, the guaranty agency paid a claim in the amount of $4,382.71 to the holder. The guarantor
was then reimbursed for that-claim payment by the Department under its reinsurance agreement. Pursuant to
34 C.F.R. § 682.410(b)(4), once the guarantor pays on a default claim, the entire amount paid becomes due to
the guarantor as principal. The guarantor attempted to collect this debt from the borrower. The guarantor was
unable to collect the full amount due, and on 7/12/99, assigned its right and title to the loan to the Department.

Since assignment of the Ioan, the Department has credited a total of $250.00 in payments from all sources,
including Treasury Department offsets, if any, to the balance. After application of these payments, the
borrower now owes the United States the following: —

Principal: . $4,882.71
Interest: . $ 5,973.48
Total debt as of 4/02/12: $10,856.19

Interest accrues on the principal shown here at the current rate of 3.42% and a daily rate of $0.46 through J une
30, 2012, and thereafter at such rate as the Department establishes pursuant to section 427A of the Higher
Education Act of 1965, as amended, 20 U.S. Cc. 107 7a.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and correct.

Executed on: 62/12 SL ra Yvan
Laura see /
Loan Analyst

Litigation Support Unit

 
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